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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION


       SECURITIES AND EXCHANGE
       COMMISSION,

                      Plaintiff,

       v.                                                       Case No. 8:20-cv-325-MSS-AEP

       BRIAN DAVISON, et al.,

                      Defendants.
                                                     /

                                   REPORT AND RECOMMENDATION

              This cause comes before the Court upon the Receiver’s Seventh Quarterly Fee

       Application for Order Awarding Fees, Costs, and Reimbursement of Costs to Receiver and His

       Professionals (Doc. 451). By the motion, the Receiver seeks reimbursement of fees and costs

       to the Receiver and the professionals he retained for use in this matter for the period from July

       1, 2021 through September 30, 2021. Neither the Securities and Exchange Commission

       (“SEC”) nor Defendant Barry M. Rybicki (“Rybicki”) oppose the request. 1 For the following

       reasons, it is recommended that the Receiver’s motion (Doc. 451) be granted.

              I.      Background

              The SEC brought this action against Individual Defendants Brian Davison (“Davison”)

       and Rybicki and Corporate Defendants EquiAlt LLC; EquiAlt Fund, LLC; EquiAlt Fund II,

       LLC; EquiAlt Fund III, LLC; and EA SIP LLC (collectively, “Corporate Defendants”) for

       violations of Sections 5(a) and 5(c) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C.

       §§ 77e(a) and 77e(c); Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a); Section 10(b)


       1
         Since the filing of the motion, judgment has been entered against Rybicki in this action (Doc.
       528).
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       of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. § 78j(b); and Exchange

       Act Rule 10b-5, 17 C.F.R. § 240.10b-5 regarding the alleged operation of a nationwide Ponzi

       scheme raising more than $170 million from 1,100 investors through fraudulent unregistered

       securities offerings (Doc. 1). The SEC further alleged that Relief Defendants 128 E. Davis

       Blvd, LLC; 310 78th Ave, LLC; 551 3d Ave S, LLC; 604 West Azeele, LLC; 2101 W. Cypress,

       LLC; 2112 W. Kennedy Blvd, LLC; 5123 E. Broadway Ave, LLC, Blue Waters TI, LLC;

       BNAZ, LLC; BR Support Services, LLC; Bungalows TI, LLC; Capri Haven, LLC; EA NY,

       LLC; EquiAlt 519 3rd Ave S., LLC; McDonald Revocable Living Trust; Silver Sands TI, LLC;

       and TB Oldest House Est. 1842, LLC (collectively, “Relief Defendants”) all received proceeds

       of the fraud without any legitimate entitlement to the money. Upon consideration of the

       Complaint (Doc. 1); the SEC’s ex parte motion for temporary restraining order, asset freeze,

       and other injunctive relief (Doc. 4); and the SEC’s ex parte motion to appoint a receiver (Doc.

       6), the District Judge granted the request for a temporary restraining order, asset freeze, and

       other injunctive relief and appointed Burton W. Wiand (“Wiand” or the “Receiver”) as the

       Receiver in this action over the Corporate Defendants and the Relief Defendants and each of

       their subsidiaries, successors, and assigns (Docs. 10 & 11). 2

              In doing so, the District Judge outlined the Receiver’s duties and the basis for

       compensation for the performance of such duties, as follows:

                     NOW, THEREFORE, IT IS ORDERED AND ADJUDGED that
              Burton Wiand, Esq. is hereby appointed the Receiver over the Corporate
              Defendants and Relief Defendants, each of their subsidiaries, successors and
              assigns, and is hereby authorized, empowered, and directed to:


       2
          Subsequently, the District Judge granted the Receiver’s motion seeking to expand the
       Receivership to include EquiAlt Qualified Opportunity Zone Fund, LP (“QOZ”); EquiAlt QOZ
       Fund GP, LLC; EquiAlt Secured Income Portfolio REIT, Inc. (“REIT”); EquiAlt Holdings LLC
       (sponsor of the QOZ and REIT); EquiAlt Property Management LLC (property manager of the
       QOZ and REIT); and EquiAlt Capital Advisors, LLC (manager of day-to-day operations for
       the QOZ and REIT) (Doc. 184). EquiAlt Fund I, LLC was also later added (Doc. 284).


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                  1.    Take immediate possession of all property, assets and estates of
                        every kind of the Corporate Defendants and Relief Defendants
                        whatsoever and wheresoever located, including but not limited to
                        all offices maintained by the Corporate Defendants and Relief
                        Defendants, rights of action, books, papers, data processing
                        records, evidences of debt, bank accounts, savings accounts,
                        certificates of deposit, stocks, bonds, debentures and other
                        securities, mortgages, furniture, fixtures, office supplies and
                        equipment, and all real property of the Corporate Defendants and
                        Relief Defendants, wherever situated, and to administer such
                        assets as is required in order to comply with the directions
                        contained in this Order, and to hold all other assets pending
                        further order of this Court;

                  2.    Investigate the manner in which the affairs of the Corporate
                        Defendants and Relief Defendants were conducted and institute
                        such actions and legal proceedings, for the benefit and on behalf
                        of the Corporate Defendants and Relief Defendants and their
                        investors and other creditors as the Receiver deems necessary
                        against those individuals, corporations, partnerships, associations
                        and/or unincorporated organizations which the Receiver may
                        claim have wrongfully, illegally or otherwise improperly
                        misappropriated or transferred money or other proceeds directly
                        or indirectly traceable from investors in EquiAlt Fund, LLC,
                        EquiAlt Fund II, LLC, EquiAlt Fund III, LLC, and EA SIP, LLC,
                        their officers, directors, employees, affiliates, subsidiaries, or any
                        persons acting in concert or participation with them, or against
                        any transfers of money or other proceeds directly or indirectly
                        traceable from investors in EquiAlt Fund, LLC, EquiAlt Fund II,
                        LLC, EquiAlt Fund III, LLC, and EA SIP, LLC; provided such
                        actions may include, but not be limited to, seeking imposition of
                        constructive trusts, disgorgement of profits, recovery and/or
                        avoidance of fraudulent transfers, rescission and restitution, the
                        collection of debts, and such orders from this Court as may be
                        necessary to enforce this Order;

                  3.    Initially recover, control and possess liquid assets, known real
                        estate, LLC assets and high-end personal assets purchased with
                        funds traceable from investor proceeds, and trusts if the Receiver
                        deems appropriate. The Receiver is specifically authorized to
                        retain for the purposes of the receivership, forensic accountants
                        (Yip and Associates), information technology consultants and
                        counsel specializing in information technology research (Adam
                        Sharp, E-Hounds, Inc. and Robert Stines of Freeborn & Peters
                        LLP), RWJ Group, LLC, and investigators, and counsel in
                        Phoenix, Arizona to assist in the service of the Order and
                        securing of records and assets. The Receiver shall advise and
                        seek the consent of the Court with respect to the institution of


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                        claims relating to vendors, professionals, investors, or financial
                        institutions, or other litigation of a complex and significant nature
                        that may involve commitment of significant assets or the
                        incurrence of significant costs or expenses to the receivership;

                  4.    Present to this Court a report reflecting the existence and value
                        of the assets of the Corporate Defendants and Relief Defendants
                        and of the extent of liabilities, both those claimed to exist by
                        others and those the Receiver believes to be legal obligations of
                        the Corporate Defendants and Relief Defendants;

                  5.    Appoint one or more special agents, employ legal counsel,
                        actuaries, accountants, clerks, consultants and assistants as the
                        Receiver deems necessary and to fix and pay their reasonable
                        compensation and reasonable expenses, as well as all reasonable
                        expenses of taking possession of the assets and business of the
                        Corporate Defendants and Relief Defendants and exercising the
                        power granted by this Order, subject to prior approval by this
                        Court;

                  6.    Engage persons in the Receiver’s discretion to assist the Receiver
                        in carrying out the Receiver’s duties and responsibilities,
                        including, but not limited to, the United States Marshal’s Service,
                        accountants, or a private security firm;

                  7.    Defend, compromise or settle legal actions, including the instant
                        proceeding, in which the Corporate Defendants, the Relief
                        Defendants, or the Receiver are a party, commenced either prior
                        to or subsequent to this Order, without authorization of this Court
                        up to a total amount of $50,000 for each claim; except, however,
                        in actions where the Corporate Defendants or Relief Defendants
                        are nominal parties, where the action does not effect a claim
                        against or adversely affect the assets of Corporate Defendants or
                        Relief Defendants, the Receiver may file appropriate pleadings
                        at the Receiver’s discretion. The Receiver may waive any
                        attorney-client or other privilege held by the Corporate
                        Defendants or Relief Defendants;

                  8.    Assume control of, and be named as authorized signatory for, all
                        accounts at any bank, brokerage firm or financial institution
                        which has possession, custody or control of any assets or funds,
                        wherever situated, of the Corporate Defendants or Relief
                        Defendants and, upon[] order of this Court, of any of their
                        subsidiaries or affiliates, provided that the Receiver deems it
                        necessary;

                  9.    Make or authorize such payments and disbursements from the
                        funds and assets taken into control, or thereafter received by the


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                            Receiver, and incur, or authorize incurrence of, such expenses
                            and make, or authorize the making of, such agreements as may
                            be reasonable, necessary, and advisable in discharging the
                            Receiver’s duties;

                     10.    Have access to and review all mail of Corporate Defendants or
                            Relief Defendants (except for mail that appears to be purely
                            personal or in any respect attorney-client privileged
                            communication to or from the individual Defendants) received at
                            any office or address of Corporate Defendants or Relief
                            Defendants.

                     IT IS FURTHER ORDERED AND ADJUDGED that, in connection
              with the appointment of the Receiver provided for above:

                     11.    The Corporate Defendants or Relief Defendants and all of their
                            directors, officers, agents, employees, attorneys, attorneys-in-
                            fact, shareholders, and other persons who are in custody,
                            possession, or control of any assets, books, records or other
                            property of the Defendants and Relief Defendants shall deliver
                            forthwith upon demand such property, money, books and records
                            to the Receiver, and shall forthwith grant to the Receiver
                            authorization to be a signatory as to all accounts at banks,
                            brokerage firms or financial institutions which have possession,
                            custody or control of any assets or funds in the name of or for the
                            benefit of the Corporate Defendants and Relief Defendants;

                     12.    The Receiver is authorized to open a bank account or accounts in
                            the name of the Receivership to carry out the business of the
                            Receivership and the Receivership Estate;

                                                   ***

                     16.    The Receiver, and any counsel whom the Receiver may select,
                            are entitled to compensation from the assets now held by or in
                            the possession or control of or which may be received by the
                            Corporate Defendants and Relief Defendants; said amounts or
                            amounts of compensation shall be commensurate with their
                            duties and obligations under the circumstances, subject to
                            approval of the Court. The Receiver is specifically authorized to
                            retain Wiand Guerra King P.A. as attorneys for the Receiver; 3

                                                   ***


       3
         The firm name changed from Wiand Guerra King P.A. to Guerra King P.A. (“GK”) since
       entry of the Order Appointing the Receiver. Any reference herein to Wiand Guerra King P.A.
       therefore applies to GK.


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                  28.   Within thirty (30) days after the end of each calendar quarter, the
                        Receiver shall file and serve a full report and accounting of each
                        Receivership Estate (the “Quarterly Status Report”), reflecting
                        (to the best of the Receiver’s knowledge as of the period covered
                        by the report) the existence, value, and location of all
                        Receivership Property, and of the extent of liabilities, both those
                        claimed to exist by others and those the Receiver believes to be
                        legal obligations of the Receivership Estates;

                  29.   The Quarterly Status Report shall contain the following:

                        A.     A summary of the operations of the Receiver;

                        B.     The amount of cash on hand, the amount and nature of
                               accrued administrative expenses, and the amount of
                               unencumbered funds in the estate;

                        C.     A schedule of all the Receiver’s receipts and
                               disbursements (attached as Exhibit A to the Quarterly
                               Status Report), with one column for the quarterly period
                               covered and a second column for the entire duration of
                               the receivership;

                        D.     A description of all known Receivership Property,
                               including approximate or actual valuations, anticipated or
                               proposed dispositions, and reasons for retaining assets
                               where no disposition is intended;

                        E.     A description of liquidated and unliquidated claims held
                               by the Receivership Estate, including the need for
                               forensic and/or investigatory resources; approximate
                               valuations of claims; and anticipated or proposed
                               methods of enforcing such claims (including likelihood
                               of success in: (i) reducing the claims to judgment; and (ii)
                               collecting such judgments);

                        F.     The status of Creditor Claims Proceedings, after such
                               proceedings have been commenced; and,

                        G.     The Receiver’s recommendations for a continuation or
                               discontinuation of the receivership and the reasons for the
                               recommendations.

                  30.   Subject to Paragraphs 31 – 37 immediately below, the Receiver
                        need not obtain Court approval prior to the disbursement of
                        Receivership Funds for expenses in the ordinary course of the
                        administration and operation of the receivership. Further, prior



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                        Court approval is not required for payments of applicable federal,
                        state or local taxes;

                  31.   Subject to Paragraph 32 immediately below, the Receiver is
                        authorized to solicit persons and entities (“Retained Personnel”)
                        to assist him in carrying out the duties and responsibilities
                        described in this Order. Except as otherwise provided herein, the
                        Receiver shall not engage any Retained Personnel without first
                        obtaining an Order of the Court authorizing such engagement;

                  32.   The Receiver and Retained Personnel are entitled to reasonable
                        compensation and expense reimbursement from the Receivership
                        Estates as described in the “Billing Instructions for Receivers in
                        Civil Actions Commenced by the U.S. Securities and Exchange
                        Commission” (the “Billing Instructions”) agreed to by the
                        Receiver. Such compensation shall require the prior approval of
                        the Court;

                  33.   Within forty-five (45) days after the end of each calendar quarter,
                        the Receiver and Retained Personnel shall apply to the Court for
                        compensation and expense reimbursement from the Receivership
                        Estates (the “Quarterly Fee Applications”). At least thirty (30)
                        days prior to filing each Quarterly Fee Application with the
                        Court, the Receiver will serve upon counsel for the SEC a
                        complete copy of the proposed Application, together with all
                        exhibits and relevant billing information in a format to be
                        provided by SEC staff;

                  34.   All Quarterly Fee Applications will be interim and will be subject
                        to cost benefit and final reviews at the close of the receivership.
                        At the close of the receivership, the Receiver will file a final fee
                        application, describing in detail the costs and benefits associated
                        with all litigation and other actions pursued by the Receiver
                        during the course of the receivership;

                  35.   Quarterly Fee Applications may be subject to a holdback in the
                        amount of 20% of the amount of fees and expenses for each
                        application filed with the Court. The total amounts held back
                        during the course of the receivership will be paid out at the
                        discretion of the Court as part of the final fee application
                        submitted at the close of the receivership;

                  36.   Each Quarterly Fee Application shall:

                        A.     Comply with the terms of the Billing Instructions agreed
                               to by the Receiver; and,




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                              B.     Contain representations (in addition to the Certification
                                     required by the Billing Instructions) that: (i) the fees and
                                     expenses included therein were incurred in the best
                                     interests of the Receivership Estate; and, (ii) with the
                                     exception of the Billing Instructions, the Receiver has not
                                     entered into any agreement, written or oral, express or
                                     implied, with any person or entity concerning the amount
                                     of compensation paid or to be paid from the Receivership
                                     Estate, or any sharing thereof.

       (Doc. 11, ¶¶1-12, 16, 28-36). In accordance with directive in the Order Appointing the

       Receiver, the Receiver now submits his Seventh Quarterly Fee Application, seeking

       compensation for the fees and costs incurred for the performance of his duties in this action as

       well as the fees and costs incurred by the Retained Personnel he hired to assist in the

       performance of such duties (Doc. 451). Specifically, the Receiver seeks an award of all fees

       and costs incurred from July 1, 2021 through September 30, 2021 in the following amounts: (1)

       Receiver, in the amount of $105,334.47; (2) GK, in the amount of $88,799.83; (3) Freeborn &

       Peters LLP (“Freeborn”), in the amount of $8,533.33; (4) Johnson, Cassidy, Newlon & DeCort

       (“JCND”), in the amount of $102,850.83; (5) Yip Associates (“Yip”), in the amount of $40,824;

       (6) PDR CPAs (“PDR”), in the amount of $13,772.02; (7) E-Hounds, Inc. (“E-Hounds”), in the

       amount of $9,402; and (8) Omni Agent Solutions (“Omni”) in the amount of $76,183.70 (Doc.

       451). As noted, neither the SEC nor Rybicki oppose the requested relief (Doc. 451, at 37).

              II.     Discussion

              When determining relief in an equity receivership, district courts maintain broad powers

       and wide discretion. S.E.C. v. Elliott, 953 F.2d 1560, 1566 (11th Cir. 1992) (citations omitted).

       Where a receiver reasonably and diligently discharges his or her duties, the receiver is entitled

       to compensation. Id. at 1577 (citation omitted); see Stuart v. Boulware, 133 U.S. 78, 82 (1890)

       (“Nor is there any doubt of the power of courts of equity to fix the compensation of their own

       receivers. That power results necessarily from the relation which the receiver sustains to the



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       court; and, in the absence of any legislation regulating the receiver’s salary or compensation,

       the matter is left entirely to the determination of the court from which he derives his

       appointment.”). In determining whether a receiver merits a fee, the court must consider the

       circumstances surrounding the receivership, with the results obtained always relevant to the

       analysis. Elliot, 953 F.2d at 1577 (citation omitted); see F.T.C. v. Worldwide Info Servs., Inc.,

       No. 6:14-cv-8-Orl-41DAB, 2015 WL 144389, at *4 (M.D. Fla. Jan. 12, 2015) (citation omitted)

       (noting that courts may consider several factors in determining the reasonableness of a fee

       award to a receiver, including “(1) the results achieved by the receiver; (2) the ability, reputation

       and other professional qualities of the receiver; (3) the size of the estate and its ability to afford

       the expenses and fees; and (4) the time required to conclude the receivership.”). In considering

       a fee award to a receiver, “the prosecuting agency’s acquiescence to the requested fees militates

       strongly in favor of approving them.” F.T.C. v. Direct Benefits Grp., LLC, No. 6:11-cv-1186-

       Orl-28TBS, 2013 WL 6408379, at *4 (M.D. Fla. Dec. 6, 2013) (citations omitted).

               Furthermore, once appointed, the receiver operates as an officer of the court and remains

       subject to the court’s directions and orders, and, while in the discharge of his or her official

       duties, the receiver may obtain counsel for himself or herself, and counsel fees fall within the

       just allowances that may be made by the court. Stuart, 133 U.S. at 81. A receiver also is entitled

       to reimbursement for the actual and necessary expenses the receiver incurred in the performance

       of his or her duties, although the receiver must support a claim for such expenses with sufficient

       information to allow a court to determine whether the expenses constituted actual and necessary

       costs of preserving the receivership estate. Worldwide Info Servs., Inc., 2015 WL 144389, at

       *4 (citations omitted). Receiverships are not intended to generously reward court-appointed

       officers, however, especially when the receivership estate fails to recover sufficient assets to

       pay full restitution to the victims of the alleged fraud or misconduct. F.T.C. v. Vacation



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       Commc’n Grp., LLC, No. 6:13-cv-789-Orl-37DAB, 2015 WL 2127724, at *4 (M.D. Fla. May

       6, 2015) (citations omitted).

              When determining the reasonableness of an award of fees to a receiver and any retained

       professionals, courts typically begin the analysis with the lodestar method, calculating the

       reasonable hourly rate in the relevant market and the reasonable number of hours expended. Id.

       at *3 (citations omitted); see Worldwide Info Servs., Inc., 2015 WL 144389, at *4 n.3 (“In

       determining the reasonableness of professional fees, courts typically undertake a lodestar

       approach, which focuses on the reasonableness of the hourly rate and the reasonableness of the

       hours billed.”); see S.E.C. v. Kirkland, No. 6:06-cv-183-Orl-28KRS, 2008 WL 4144424, at *4

       (M.D. Fla. Sept. 5, 2008); cf. Hensley v. Eckerhart, 461 U.S. 424, 433-34 (1983) (discussing

       the lodestar method); cf. Norman v. Hous. Auth. of Montgomery, 836 F.2d 1292, 1299-1302

       (11th Cir. 1988) (discussing the lodestar method). In determining the lodestar figure, a

       “reasonable hourly rate” consists of “the prevailing market rate in the relevant legal community

       for similar services by lawyers of reasonably comparable skills, experience, and reputation.”

       Norman, 836 F.2d at 1299 (citations omitted). In this context, “market rate” means the hourly

       rate charged in the local legal market by an attorney with expertise in the area of law who is

       willing and able to take the case, if indeed such an attorney exists. Am. Civil Liberties Union

       of Ga. v. Barnes, 168 F.3d 423, 437 (11th Cir. 1999).

              After determining the reasonable hourly rate, courts must then determine the number of

       hours reasonably expended on the litigation. In submitting a fee petition, counsel must exercise

       proper billing judgment and thus exclude any hours that are “excessive, redundant, or otherwise

       unnecessary.” Hensley, 461 U.S. at 434; Norman, 836 F.2d at 1301. “Both a receiver and his

       counsel must exercise proper billing judgment in seeking fees from the receivership estate, and

       should limit their work to that which is reasonable and necessary irrespective of the amount of



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       money in the receivership estate.” Kirkland, 2008 WL 4144424, at *5 (citation omitted). As

       to claims for professional services, the receiver must also provide evidence indicating the hourly

       rate is reasonable and commensurate with rates paid for similar services and that the time

       expended by such professionals was reasonable.          Id. at *4.    Furthermore, requests for

       reimbursement of expenses from the receiver also must be supported by sufficient information

       to permit the court to determine that the expenses are actual and necessarily incurred. Vacation

       Commc’n Grp., LLC, 2015 WL 2127724, at *3 (citation omitted). Regardless, the Court is an

       expert with respect to fee applications and therefore may consider a fee award based on its own

       experience and knowledge concerning reasonable and proper fees and therefore may form an

       independent judgment as to value. See Norman, 836 F.2d at 1303 (citations omitted).

              As with the prior requests, upon review of the Seventh Quarterly Fee Application,

       including the accompanying fee and costs records (Doc. 451), the undersigned concludes that

       the Receiver continued to properly perform his duties and employ professionals to assist in

       carrying out those duties. Further, the Receiver and the Retained Personnel discharged their

       duties in a diligent and reasonable manner and did not incur unnecessary fees or costs.

       Importantly, as noted above, the SEC does not oppose the Receiver’s request for fees and costs.

       The lack of any opposition by the SEC bears great weight in determining the reasonableness of

       the fees and costs to be awarded by the Court. See S.E.C. v. Byers, 590 F. Supp. 2d 637, 644

       (S.D.N.Y. 2008) (citation omitted) (stating that, in a securities receivership, the SEC’s

       opposition or acquiescence to the fee application will be afforded great weight); see Direct

       Benefits Grp., LLC, 2013 WL 6408379, at *4.

                      A.      Receiver

              With respect to the Receiver’s fees, the Receiver indicates that he reduced his standard

       hourly rate from $500 to $360 and seeks a total of $105,334.47 for fees and costs, including an



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       award of fees for 255 hours expended on Receivership activities in this action, 5.5 hours

       expended on recovery of false profits from investors, and 2.9 hours expended on clawback

       litigation against non-investors by the Receiver from July 1, 2021 through September 30, 2021,

       as well as an award of fees in the amount of $3,687.50 for 29.5 hours of paralegal work 4 at a

       rate of $125 per hour and an award of costs in the amount of $7,632.97 (Doc. 451, at 10-14 &

       Ex. 2-6). Based on the undersigned’s own experience and the rates typically awarded to court-

       appointed receivers in the Middle District of Florida, the requested hourly rate of $360 is

       reasonable. See, e.g., F.T.C. v. First Choice Horizon LLC, Case No. 6:19-cv-1028-Orl-40LRH,

       2020 WL 1431526, at *2-3 (M.D. Fla. Jan. 15, 2020), report and recommendation adopted,

       2020 WL 1431601 (M.D. Fla. Jan. 31, 2020) (considering several factors in concluding that an

       hourly rate of $350 was reasonable for a court-appointed receiver in the Middle District of

       Florida); F.T.C. v. MOBE Ltd., Case No. 6:18-cv-862-Orl-37DCI, 2018 WL 4782327, at *3

       (M.D. Fla. Sept. 17, 2018), report and recommendation adopted, 2018 WL 4774960 (M.D. Fla.

       Oct. 3, 2018) (finding a rate of $330 per hour a reasonable rate for compensating a court-

       appointed receiver in the Middle District of Florida); F.T.C. v. Life Mgmt. Serv. of Orange

       Cnty., LLC, Case No. 6:16-cv-982-Orl-41TBS, 2017 WL 4861467, at *3 (M.D. Fla. Aug. 9,

       2017), report and recommendation adopted, 2017 WL 4877460 (M.D. Fla. Oct. 30, 2017)

       (finding a rate of $325 per hour a reasonable rate for compensating a court-appointed receiver

       in the Middle District of Florida and finding reasonable 129.2 hours expended by such receiver).



       4 Courts only reimburse work of paralegals and law clerks when such individuals perform work
       traditionally done by attorneys. Jean v. Nelson, 863 F.2d 759, 778 (11th Cir. 1988) (concluding
       that a district court properly reimbursed the time spent by paralegals and law clerks where the
       work was that normally done by an attorney). In this instance, review of the time records for
       the paralegal (Doc. 451, Ex. 3) indicates that the work performed by the paralegal in this matter
       constituted legal work normally performed by an attorney rather than clerical work.
       Accordingly, the undersigned recommends awarding the fees requested for work performed by
       the paralegal, as both the rate requested and the time expended on such work are reasonable.


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       Furthermore, the hours expended by the Receiver during the period from July 1, 2021 through

       September 30, 2021 are reasonable and do not appear excessive, redundant, or unnecessary at

       this juncture.

               As detailed more fully in the Receiver’s Seventh Quarterly Status Report, the

       Receivership involves more than 1,100 investors, $170 million in investments, and more than

       350 properties (Doc. 441). During the relevant period, the Receiver and the Retained Personnel

       managed the turnover of assets by Davison pursuant to the judgment entered against him (Doc.

       355); participated with class action counsel in a combined mediation in other pending lawsuits;

       sought and received Court approval to pool assets and liabilities of various Receivership entities

       (Doc. 351); sought and received Court reappointment of the Receiver to gain jurisdiction over

       additional net winners (Doc. 350); sought and received Court approval of an online auction for

       the sale of 30 real estate properties owned by the Receivership Estate; solicited bids from

       multiple auction houses to market and sell luxury watches after which the Receiver sought and

       obtained Court approval to retain Sotheby’s (Doc. 419); successfully defended against multiple

       motions to dismiss filed in an investor clawback action; obtained defaults against 51 defendants

       in a clawback action, representing $755,617 in false profits, with three of the defaulted

       defendants subsequently settling with the Receiver; obtained Court approval for the settlement

       of various investor clawback claims, resulting in settlements in the amount of $1,740,842.37

       (Docs. 360, 363, 392); worked with Omni to initiate the claims process, sending out more than

       3,370 proof of claim packets to investors, other potential creditors, and their counsel; engaged

       in efforts to market properties; entered into agreements to sell a New York apartment, Davison’s

       Davis Islands house and property, and the office location for EquiAlt at 2112 West Kennedy

       Boulevard, Tampa, Florida; continued to renovate the Jasmine Way property located in

       Clearwater; continued working with partners to operate Commerce Brewing and related



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       entities; continued development plans for commercial land located in St. Petersburg; and

       continued efforts to streamline Receivership administration and manage EquiAlt operations

       (Doc. 441, at 1-23; Doc. 451, at 10-14 & Ex. 2-5). As a result, the 263.4 hours expended by

       the Receiver, the 29.5 hours expended by the paralegal, and the costs incurred, including costs

       for delivery services, out-of-town travel, web-related services, and other costs, encompassing

       the notarization of documents for the sale of assets and other transactions, registration and

       insurance of vehicles held by the Receivership, and Sunbiz charges for corporate filings (Doc.

       451, Ex. 2), from July 1, 2021 through September 30, 2021 are fair and reasonable considering

       the activities performed and the results achieved (see Doc. 441, at 1-23; Doc. 451, at 10-14 &

       Ex. 2-5). Accordingly, the Receiver should be awarded fees and costs in the amount of

       $105,334.47.

                       B.     GK

              With respect to legal services, the Receiver retained GK, which the District Judge

       specifically authorized in the Order Appointing the Receiver (Doc. 11, ¶16). The Receiver now

       seeks $86,199.50 in fees and $2,600.33 in costs for services provided by GK. The attorney fee

       schedule provided by GK includes the following proposed rates for the Receivership: $350 for

       members/partners; $240 for associates; and $135 for paralegals (Doc. 451, Ex. 6). The fee

       records indicate that the fees requested include the following:

       Professional           Position       Experience      Hours        Rate           Fees

       Jared Perez            Partner        15 years        1.6          $350           $560

       Maya Lockwood          Of Counsel     21 years        39.8         $240           $9,552

       R. Max McKinley        Associate      5 years         161.5        $240           $38,760

       Jeffrey Rizzo          Paralegal                      146.3        $135           $19,750.50




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       Amanda Stephens        Paralegal                       130.2           $135            $17,577

                                                                              TOTAL:          $86,199.50

       (Doc. 451, at 14-18 & Ex. 7-9). These numbers reflect work performed on Receivership matters

       and for the discrete projects involving the recovery of false profits from investors and the

       clawback litigation against non-investors, as detailed more fully above.

              Upon review, all the requested hourly rates are reasonable. See F.T.C. v. Hardco

       Holding Grp. LLC, No. 6:17-cv-1257-Orl-37TBS, 2017 WL 4772624, at *4-5 (M.D. Fla. Oct.

       3, 2017), report and recommendation adopted, 2017 WL 4700396 (M.D. Fla. Oct. 19, 2017)

       (finding that an hourly rate of $210 for an attorney with two years’ experience on the high side

       but not unreasonable; an hourly rate of $325 for an associate with seven years’ experience

       reasonable and at or below that charged by attorneys of comparable experience and skills in the

       Middle District of Florida; an hourly rate of $400 for an attorney with twelve years’ experience

       and particularized expertise reasonable; and a discounted hourly rate of $400 for a partner with

       twenty-one years’ experience reasonable); Life Mgmt. Serv. of Orange Cnty., LLC, 2017 WL

       2869535, at *2-4, report and recommendation adopted, 2017 WL 4877460 (concluding that

       hourly rates charged for legal services rendered on behalf of a court-appointed receiver in the

       amounts of $310, $360, and $410 were reasonable and an hourly rate of $125 for legal work

       performed by paralegals was reasonable). Furthermore, the 479.4 hours expended by counsel

       and the paralegals do not appear unnecessary, excessive, or redundant but rather reflect a

       reasonable amount of time spent on this matter, including the continued investigation of the

       fraud and related activities, locating and taking control of Receivership assets, liquidating assets

       for the benefit of the Receivership, investigating and pursuing additional assets, analyzing

       investor information for the claims process and litigation, and initiating the claims process.

       Given that both the hourly rate and the hours expended are reasonable, attorneys’ fees should



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       be awarded for work performed by GK. Accordingly, GK should be awarded $86,199.50 in

       fees.

               GK also seeks reimbursement in the amount of $2,600.33 for costs, encompassing costs

       for duplication, online research, delivery services, postage, court fees, subpoena fees, and web-

       related expenses (Doc. 451, at 14-18 & Ex. 7-9). The costs appear to have been necessarily

       incurred for the Receiver and the Retained Personnel to carry out their duties. Such costs are

       thus fair and reasonable and should be awarded. Given the foregoing, GK should be awarded

       costs in the amount of $2,600.33. In total, therefore, fees and costs should be awarded in the

       amount of $88,799.83 for work performed by GK, which represents $86,199.50 in fees and

       $2,600.33 in costs.

                       C.     Freeborn

               The Receiver also retained Attorney Robert A. Stines of Freeborn for legal services

       regarding information technology, data collection, and potential privacy and confidentiality

       issues, which the District Judge specifically authorized in the Order Appointing the Receiver

       (Doc. 11, ¶3). As the Receiver indicates, Freeborn works with E-Hounds to segregate and

       review potentially privileged data prior to allowing access to the Receiver’s attorneys and

       provides counsel and assistance to the Receiver related to websites, investor portals, internet

       and email accounts, and encrypted data on servers and laptops. The Receiver seeks $8,443 in

       fees for services rendered by Freeborn as follows:

       Professional           Position       Experience      Hours          Rate           Fees

       Robert Stines          Partner        10 years        19.4           $345           $6,693

       Eric Stadel            Paralegal                      0.4            $125           $50

       Alex Schiller          Paralegal                      9.1            $125           $1,137.50




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       Virginia Williams      Paralegal                     4.5             $125           $562.50

                                                                            TOTAL:         $8,443

       (Doc. 451, at 29-30 & Ex. 16). Upon review of the billing records, the hours expended are fair

       and reasonable for the services performed and present no redundancies or unnecessary time

       spent on this matter. The rate charged for Stines likewise is reasonable for the Middle District

       of Florida. See Hardco Holding Grp. LLC, No. 6:17-cv-1257-Orl-37TBS, 2017 WL 4772624,

       at *4-5, report and recommendation adopted, 2017 WL 4700396 (finding that an hourly rate of

       $210 for an attorney with two years’ experience on the high side but not unreasonable; an hourly

       rate of $325 for an associate with seven years’ experience reasonable and at or below that

       charged by attorneys of comparable experience and skills in the Middle District of Florida; an

       hourly rate of $400 for an attorney with twelve years’ experience and particularized expertise

       reasonable; and a discounted hourly rate of $400 for a partner with twenty-one years’

       experience reasonable); Life Mgmt. Serv. of Orange Cnty., LLC, 2017 WL 2869535, at *2-4,

       report and recommendation adopted, 2017 WL 4877460 (concluding that hourly rates charged

       for legal services rendered on behalf of a court-appointed receiver in the amounts of $310, $360,

       and $410 were reasonable and an hourly rate of $125 for legal work performed by paralegals

       was reasonable). Accordingly, fees should be awarded in the amount of $8,443 for work

       performed by Freeborn.

              The Receiver also seeks costs in the amount of $90.33 for express delivery charges in

       the amounts of $33.80, $32.22, and $66.02 (Doc. 451, Ex. 16). While the undersigned

       appreciates the efforts to deliver packages expeditiously, the Receiver and Retained Personnel

       should endeavor to use the most cost-effective means for shipment going forward. For this

       request, however, it is recommended that Freeborn receive its $90.33 in costs. Freeborn should

       therefore be awarded $8,533.33 for fees and costs.



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                      D.      JCND

              The Receiver retained the law firm of JCND to assist as co-counsel (Doc. 278), which

       the Court approved (Doc. 282). 5 As an accommodation to the Receiver and to conserve the

       resources of the Receivership Estate, JCND has agreed to follow the reduced rates for attorneys

       and paralegals provided in the GK fee schedule (Doc. 451, Ex. 6). Based on those rates, the

       Receiver now seeks fees for professional services rendered by JCND from July 1, 2021 through

       September 30, 2021 in the amount of $88,091.50 as follows:

       Professional           Position       Experience      Hours           Rate           Fees

       Katherine Donlon       Partner        25 years        178.7           $350           $62,545

       Brad Kinni             Associate      1 year          20.1            $240           $4,824

       Mary Gura              Paralegal                      153.5           $135           $20,722.50

                                                                             TOTAL:         $88,091.50

       (Doc. 451, at 19-23 & Ex. 10-12). Upon review of the billing records and the Quarterly Status

       Report, the hours expended are fair and reasonable for the services performed and present no

       redundancies or unnecessary time spent on this matter (Doc. 441, at 1-23; Doc. 451, Ex. 10-

       12). Namely, during the relevant period, JCND assisted the Receiver with investigating the

       fraud, locating and procuring Receivership assets, investigating and pursuing additional assets

       for the Receivership, and analyzing investor information, along with work on the two discrete

       projects relating to recovery of false profits from investors and clawback litigation against non-

       investors. Further, as discussed above, the rates charged are reasonable for the Middle District

       of Florida. See Hardco Holding Grp. LLC, No. 6:17-cv-1257-Orl-37TBS, 2017 WL 4772624,


       5
         The Receiver retained JCND following the departure of Ms. Donlon, who had been acting as
       lead counsel for the Receiver, from GK to join JCND (Doc. 278; Doc. 361, at 8 n.6). The
       Receiver does not anticipate any duplication of efforts will occur given the roles of various
       legal professionals at GK and JCND (Doc. 278, at 3).



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       at *4-5, report and recommendation adopted, 2017 WL 4700396 (finding that an hourly rate of

       $210 for an attorney with two years’ experience on the high side but not unreasonable; an hourly

       rate of $325 for an associate with seven years’ experience reasonable and at or below that

       charged by attorneys of comparable experience and skills in the Middle District of Florida; an

       hourly rate of $400 for an attorney with twelve years’ experience and particularized expertise

       reasonable; and a discounted hourly rate of $400 for a partner with twenty-one years’

       experience reasonable); Life Mgmt. Serv. of Orange Cnty., LLC, 2017 WL 2869535, at *2-4,

       report and recommendation adopted, 2017 WL 4877460 (concluding that hourly rates charged

       for legal services rendered on behalf of a court-appointed receiver in the amounts of $310, $360,

       and $410 were reasonable and an hourly rate of $125 for legal work performed by paralegals

       was reasonable). In addition, the costs incurred in the amount of $14,759.33 for duplication,

       publication costs, costs pertaining to local counsel, delivery services, court fees, subpoena fees

       travel expenses, postage, online research, and service of process are reasonable and necessary.

       Accordingly, JCND should be awarded $102,850.83, which includes $88,091.50 in fees and

       $14,759.33 in costs.

                      E.      Yip

              With respect to the non-legal professional services obtained, the Receiver retained the

       services of Yip, a forensic accounting firm specializing in insolvency and restructuring, Ponzi

       schemes, fraud investigations, insolvency taxation, business valuation, and litigation support,

       to assist with the cash in/cash out analysis for establishing a claims process, among other things.

       The District Judge specifically authorized the retention of Yip in the Order Appointing the

       Receiver (Doc. 11, ¶3). As detailed more fully by the Receiver, Yip “has been instrumental to

       the Receiver in investigating and analyzing the financial status of the Receivership Entities and

       the investment scheme at issue in this case,” including but not limited to the tracing of investor



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       proceeds to various assets and properties and substantially completing the process of gathering

       the investors’ investments and distributions for the claims process (Doc. 451, at 24 & Ex. 13).

       As the Receiver indicated throughout these proceedings, most of the costs associated with

       forensic accounting services occur on the front end of the Receivership and will not be

       duplicated later but rather will result in greater efficiency as the claims process and filing of

       clawback actions commence.

              Indeed, the fees requested in the Seventh Quarterly Fee Request reflect another decrease

       in the total fees requested. The Receiver now seeks an award of $40,824 in fees as follows:

       Professional           Position        Experience      Hours         Rate           Fees

       Maria Yip              Partner         27 years        22.1          $495           $10,939.50

       Marci Bour             Partner         35 years        1.1           $495           $544.50

       Hal Levenberg          Director        13 years        46.2          $300           $13,860

       Christopher Cropley Director           12 years        51.6          $300           $15,480

                                                                            TOTAL:         $40,824

       (Doc. 451, at 23-26 & Ex. 13). Such hourly rates are reasonable considering the experience

       levels of each professional and the results achieved by Yip thus far. See F.T.C. v. Nationwide

       Connections, Inc., Case No. 06-80180-Civ-Ryskamp/Vitunac, 2009 WL 10669124, at *8-9

       (S.D. Fla. Apr. 14, 2009), report and recommendation adopted, 2009 WL 10668438 (S.D. Fla.

       Apr. 24, 2009) (awarding a forensic accounting firm utilized by a court-appointed receiver fees

       in the amount of $32,333.50 for 143.7 hours of forensic accounting work at a blended rate of

       approximately $225 per hour). Moreover, the hours do not appear inflated, excessive, or

       unnecessary for the work performed during this period. The requested total of $40,824 in fees

       for Yip therefore should be awarded.




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                      F.     PDR

              The Receiver also retained the services of PDR to assist with accounting and tax matters.

       The District Judge approved the retention of PDR and limited its role to internal Receivership

       accounting, financial reporting, tax preparation and filing, and internal accounting for EquiAlt

       (Doc. 85). The District Judge directed the Receiver to advise as to the maximum number of

       hours anticipated to be incurred by PDR, and should it become apparent that PDR’s hours would

       exceed the anticipated maximum, the Receiver should submit a motion to that effect (Doc. 85).

       In approving the retention of PDR, the District Judge approved the following hourly rates for

       PDR employees working on this matter: $320 for partners/principals; $210 for managers; $180

       for senior managers; and $125 for staff members (Doc. 85). 6 Subsequently, the Receiver

       submitted the anticipated maximum number of hours for PDR, indicating that a principal of

       PDR agreed to a maximum of $15,000 for PDR’s services for each of the first three months and

       then a maximum of $6,000 for each month thereafter (Doc. 87, at 3).

              The Receiver now seeks an award of $13,772.02 in fees and costs for accounting,

       auditing, consulting, and tax services provided by PDR during the relevant period (Doc. 451,

       at 26-27 & Ex. 14). The requested fees and costs thus fall within the anticipated $6,000 monthly

       maximum previously approved by the District Judge and include reasonable rates in the

       following amounts: $320 for Partner William Price, $155 for Senior Manager Gail Heinold,

       and $125 for Staff Member Sharon O’Brien (Doc. 451, at 26-27 & Ex. 13). Further, upon

       review, the 77 hours expended on accounting and tax matters by PDR appear reasonable (Doc.

       451, at 26-27 & Ex. 14). Additionally, the $1,372.77 in costs relating to QuickBooks are

       warranted (Doc. 451, Ex. 14). Accordingly, fees and costs should be awarded in the amount of


       6
         Though the District Judge approved a rate of $180 for senior managers, PDR billed the senior
       manager who worked on this matter at a reduced rate of $155 per hour (Doc. 451, at 27 & Ex.
       14).


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       $13,772.02 for the work performed and costs incurred by PDR.

                      G.     E-Hounds

              For computer forensics services to assist the Receiver in securing and analyzing

       electronic data, the Receiver retained E-Hounds, which the District Judge authorized in the

       Order Appointing the Receiver (Doc. 11, ¶3). Specifically, E-Hounds assists with the collection

       and preservation of electronic records, including email records, GoDaddy records, and

       DropBox files as well as computer equipment. The Receiver seeks an award of $9,402 for

       services rendered and costs incurred by E-Hounds, which includes $3,570 in monthly platform

       charges and $3,375 for additional platform users (Doc. 451, at 27-28 & Ex. 15). The billing

       records further indicate that E-Hounds charged $195 per hour for 11.1 hours of technician work

       and 1.5 hours of project management. The hourly rate charged, the hours expended, and costs

       incurred are all reasonable for the work performed collecting and preserving electronic data.

       See, e.g., SEC v. Kinetic Investment Grp., Case No. 8:20-cv-394-MSS-SPF (M.D. Fla.) (Docs.

       73 & 101); CFTC v. Oasis Int’l Grp. Ltd., Case No. 8:19-cv-886-VMC-SPF (M.D. Fla.) (Docs.

       203 & 207). Fees and costs in the amount of $9,402 for work performed, services provided,

       and costs incurred by E-Hounds should be awarded.

                      H.     Omni

              In June 2021, the Receiver retained Omni to assist with the logistical aspects of the

       claims process (Doc. 335), which the Court approved (Doc. 347). According to the Receiver,

       “Omni is an information management company that provides administrative services and

       technology solutions to simplify claims administration” (Doc. 451, at 30). Omni will assist

       with logistical components of the claims process, including mailing, determining the correct

       addresses for returned mail, addressing clerical deficiencies, assisting with data entry for the

       returned Proof of Claim Forms, and processing distributions as well as providing an online



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       platform for claimants to submit claims electronically or upload their claims. The Standard

       Services Agreement entered into between the Receiver and Omni indicates that, except as

       otherwise stated therein, services rendered by Omni will be billed at rates ranging from $135 to

       $205 per hour, representing a 5% discount (Doc. 335, Ex. 5), which the Court adopted in

       authorizing the Receiver to retain Omni (Doc. 347, at 4).

              The Receiver now seeks fees in the amount of $65,402.16 7 for time expended by 32

       separate individuals on the claims administration process, which includes a discount of

       $3,595.34, and $10,781.54 for costs incurred, or a total of $76,183.70 (Doc. 451, at 30-31 &

       Ex. 17-18). Upon review of the time records, none of the hours expended on case administration

       and the claims process appear excessive, redundant, or unnecessary (Doc. 451, Ex. 17-18).8

       Further, the fee amounts fall within the agreed-upon rates that the Court already approved.

       Additionally, costs in the amount of $10,781.54, which includes costs for duplication, postage,

       envelopes, and labels, do not appear excessive given the nature of the claims administration

       process. Accordingly, fees in the amount of $76,183.70 should be awarded to Omni.

              III.    Conclusion

              For the foregoing reasons, it is hereby

              RECOMMENDED:




       7
            The statement summarizing Omni’s fees for services rendered contains a discrepancy
       regarding a mathematical error. The total fees charged by Omni, $68,997.50, less the $3,595.34
       discount, equals a subtotal of $65,402.16 rather than the $64,402.16 identified on the statement
       (Doc. 451, Ex. 18). Adding the $65,402.16 in fees to the $10,781.54 in costs correctly produces
       the $76,183.70 requested by the Receiver for Omni’s fees and costs.
       8
           Going forward, however, Omni should endeavor to distribute tasks more efficiently, if
       possible. For example, it is unclear whether the six “claims assistants” assigned to the claims
       administration process are in fact necessary to the orderly administration of the claims process
       or are excessive and redundant, especially when several meetings and phone calls are being
       billed for two or more individuals for planning purposes (see, e.g., Doc. 451, Ex. 17, at 26-27).


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             1.     The Receiver’s Seventh Quarterly Fee Application for Order Awarding Fees,

       Costs, and Reimbursement of Costs to Receiver and His Professionals (Doc. 451) be

       GRANTED.

             2.     Fees and costs be awarded in the following amounts:

                    a. The Receiver, in the amount of $105,334.47;

                    b. GK, in the amount of $88,799.83;

                    c. Freeborn, in the amount of $8,533.33;

                    d. JCND, in the amount of $102,850.83;

                    e. Yip, in the amount of $40,824;

                    f. PDR, in the amount of $13,772.02;

                    g. E-Hounds, in the amount of $9,402; and

                    h. Omni, in the amount of $76,183.70.

             IT IS SO REPORTED in Tampa, Florida, on this 1st day of April, 2022.




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                                         NOTICE TO PARTIES


              A party has fourteen days from the date they are served a copy of this report to file

       written objections to this report’s proposed findings and recommendations or to seek an

       extension of the fourteen-day deadline to file written objections. 28 U.S.C. § 636(b)(1)(C). A

       party’s failure to file written objections waives that party’s right to challenge on appeal any

       unobjected-to factual finding or legal conclusion the district judge adopts from the Report and

       Recommendation. See 11th Cir. R. 3-1; 28 U.S.C. § 636(b)(1). Should the parties wish to

       expedite the resolution of this matter, they may promptly file a joint notice of no objection.



       cc:    Hon. Mary S. Scriven
              Counsel of Record




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